Case 1:08-cV-01675-RWR Docum'ent 1-2 Filed 09/30/08 Page 1 of 5
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Notice and Acknowledgment for Service by Maz'f
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Vs. C..r't. No. 2003 C.t-‘t lJt}'-l'i?:i B
COMPU CREDIT CORP

INITIAL ORDER AN]] ADDENDUM

li’ursuant to D.C. Codc §- 1 lrl?tld and Disl:rict of Co|un:tbia Superior C`ourt ltule ofCivil Proccdure
["SCR Civ"] 4D‘L it is hereby URIIERED as foilows;

[l] Efl'ecrive this date, this case has assigned to the indi'.idual calendar designated below. .a.ll fun.tre filings
in this ease shall bear tltc calendar number and tlte judge’s name beneth the case number in the caption fin
filing any motion or paper related thereto, one copy {for tltejudge} must be delivered to the Clerk along nitb the

canon

{2} 1't‘ifithin 60 days ofthe filing of lhe eomplaint, plaintiff must ftle proof of serving on each defendant
copies of the Elummon_s, the Complaiut, and this lnitial Drder. its to any defendant f`or whom such proof of
service has not been li]ed. the Complalot nill be dismissed 1n.itliout prejudice for 1insert of` prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4{£:1].

{3} Within 20 days of service as described above. except as othcrcise noted in SCR L'iv 12, each defendant
must respond to the Complaint by filing an Ansu'er or other responsive pleading As to t`ne defendant who has
failed to respond a default and judgment still be entered unless the time to respond has been extended as
presided in SCR C iv jj{a}.

(4} .-'tt the time and place noted beloiv, all counsel and unrepresented parties shall appear before the
assigned judge at an lnitial Sehcduling and Settlement Conli;:rcnce to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings utcluding,_, nonnally. either mediation case
evaluation_. or arbitration L`otntsel shall discuss 1nith their clients M to the conference whether the clients are
agreeable to binding or non-binding arbitration Tbis order is the only notice that parties and counsel 1will
receive concerning this Confcrencc.

[_5] i_ipon advice that the date noted below is inconvenient for any party or counsel, the Oualit'y Ret.iew
Bt'anch [2|]2) 3?`9-1?5{] may continue thc Conference Mt nith the consent of all parsies. to either of the ln'o
succeeding l-'ridays. chuest must he made not less than six business days before the scheduling conference date.
No other continuance of the conference 1sill be manted except upon motion for good cause shonn.

Ciiief`iudge l-'tuft.ts G. King, ll_l

Case Assigned to: Judge NATALL-’t CUhiBS GREE?~."`E
[}atc: lulv l, 2003 _ _
lnitial Conference: '_il:l]'l} aro, Friday, Detober ll}. 2003
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att ambient transaction cases

in accordance stith the hlcdical lvla]practice Proceedings .»“tct of ECHJE, D.C. Code § ld-ESDI,
et seq. {EEHJ? 1Winrcr Supp.}. ”[a]r`tcr an action is filed in the court against a healthcare provider
alleging medical malpracticc, the court shall require the pmr.ics to enter into mediation v»ithour
discovery or, if all parties agree[,] nirh only limited discovery that will nor interfere with the
completion of mediation 1nithin fith days of the lnitial Scheduling and Settlemenr Confcrencc
[”lSSC"}, prior to any further litigation in an effort to reach a settlement agreement lhe early
mediation schedule shall be included in the Schedullng 'Drder following the lSSC. Unlces all
parties agree, the stay of discovery shall not be more than 30 days after the lSSC." D.C. t'_`ode § ld-
23.?.!_

To ensure compliance with this legislation on or before the date of the ISSC, the Court 1will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the msigned mediator. ln.formation about the early mediation date also is available over
the internat at hrtps;frnnn".dccotu'ts-govr“pat’, ‘l'o facilitate this processq all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARL"!:' thl)l.»*tTthl FORM._ which must be Eled no later than ten (llJ} calendar days prior to the
!SSC. Two separate 1Eatly hiediation Fon'ns arc availablc. Both forms may be obtained at
nniv.dceourts.govlmedmalmediatiort fine form is to be used for early mediation uith a mediator
li-om the multi'door medical malpractice mediator roster; the second form is to be used for early
mediation vtith a private mediator. Both forms also are available in tbc Multi-Door []'ispute
Resolurion Ufl]ee, Suitc ltli :`il:i irb hitt-net1 N.W. t_cnter at Police hiemorial Plaza cnu'ance].
Plaintifl's counsel is responsible for cFiling rlte fonu and is required to e-mail a courtesy copy to
earlymedrnal@dcsc.gov. Pro re Plaintiffs who elect not to eFile may file by hand in the hiuiti-Door
Dispute Resoiution t`.`thce.

it roster of medical malpractice mediators available through the Courr`s hfulti-Door Dispute
Rcsolution Divisiort__ 1nith biographical information about each mediator, can be found at
nww.dccoutts.govi'medmalmediariortlmediatorprol`tles. .»‘-tll individuals on the roster arc judges or
lawyers with at least ltl years of significant experience in medical malpractice litigation D.C. Code
§ lt'r-Ellfljta}. lf the parties cannot agree on a mediator, the Cotnt will appoint one. D_C. Cocle §
lti-EEEE{h}_

The following persons are required by statute to attend personally the Early h-lediation
Confcrcncc; {l) all parties: {2} for parties that are not individuals, a representative with settlement
authoriry; {3} in cases involving an insurance company, a representative of the company v»ith
settlement authority; and (4} attorneys representing each party 1with primary responsibility for the
casc. l).t`l. Code § ld-ESZ4.

l\lo later than ten [llJ} days after the early mediation session has terminatcd, Plainciff must
cl-`ilc twitb the t'.`ourt a report prepared by the mediator, including a private mediator. regarding: {l)
attendance: {2] whether a settlement was reached; or, {3) if a settlement nas not reached1 any
agreements to narrow tlte scope of the disputh limit discovery. facilitate future settlement hold
another mediation session, or otherwise reduce the cost and time of trial preparation [J.(.`. Code §
ld-?BEE. .-tny Plaintifl' who is pro re may elect to tile the report by hand with the Civil Clerir*s
Oftice. '.l'he forms to be used for early mediation reports are available at
unsw.dccotn'm.gov."medmalmediation

Chief.ludge R.uftls G. King_. lll

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Superior Court of the District of Columbia
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SUHHDNS
To tlte above named Defcndant:

‘r"nn are hereby sununoned and required to serve an Answer to the attached Complaint. either
personally or through an attorney1 within twenty [20} days after service of this stunmons u n you, exclusive
of the day of service. lf you arc being sued as an officer or agency of the United States venunenr or the
l)istrict of Colutnbia t'inventment, you have sixty [60] days after service of this summons to serve your
Answer_ ai copy of tlte Answer must be mailed to the attorney for the party plaintiff who is suing you. 'fhe

attorney`s name and address below_ lf plaintiff has no attomcy. a copy of the Answcr must be
mailed to the plaintiifat the adad[i'§!statcd on this Summons.

"i’ou are also required to file the ongina| Answcr with the Court in itoom llvl 1?0 at 500 indiana
,-t.t-enue, lt~.'.W., between 3:30 a.m_ and 5:00 p.m., Mondays through Frida|ij_,l‘s or between 9:00 a_m. and lJ;{I]
noon on Satu_rdays. 1l”ol.r may file the original r"inswer with tltc Coutt ci er before ~oii serve a copy of the
Answer on tlte plaintiff or within five {5} days after you have served tire plaintif[i lf you fail to file an
Answer, judgment by default maybe entered against you for the relief demanded in the complaint

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